Case 2:04-cV-02283-SHI\/|-tmp Document 42 Filed 05/18/05 Page 1 of 2 Page|D 30

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lN THE UNITED STATES DISTRICT COURT

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JANE DOE # l, by and through her next U"'IF“H!S
friend (mother), JANE DOE # 2; and
JANE DOE # 2,

Plaintiffs,
VS. NO. 04-2283-MafP
MEMPHIS CITY SCHOOLS; BOB ARCHER,
individually and as associate superintendent for
MCS; et al.,

Defendants.

ORDER GRANTING MOTION FOR ADDITIONAL TIME TO RESPOND

Before the court is the plaintiffs’ May 5, 2005 motion requesting an extension of time
Within which to file responses to defendants’ motion to dismiss and motion for summary
judgment . For good cause shown, the motion for additional time to respond is granted The
plaintiffs shall have additional time to and including June 17, 2005, Within Which to tile their
responses

11 is so oRDERED this 13 Maay OfMay, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE
Ompl`lance

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with Rule 53 and/or 79(a) FHCP on

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Honorable Samuel Mays
US DISTRICT COURT

